                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE


             In re:                                                     Chapter 11

             AMYRIS, INC., et al.,1                                     Case No. 23-11131 (TMH)

                              Debtors.                                  (Jointly Administered)

                                                                        Ref. Docket No. 463
                                                                        Obj. Deadline: November 1, 2023 at 4:00 p.m. (ET)

                 NOTICE OF FILING OF PROPOSED ORDER APPROVING STIPULATION
                 GRANTING ADEQUATE PROTECTION RELIEF TO DSM-FIRMENICH AG

                      PLEASE TAKE NOTICE that, on October 4, 2023, DSM Finance B.V. (together with

         its affiliates, including DSM Nutritional Products Ltd., “DSM-Firmenich”) filed its Request of

         DSM-Firmenich For Adequate Protection (the “Request”)2 [Docket No. 463] with the United

         States Bankruptcy Court for the District of Delaware (the “Court”). The deadline to object to the

         relief requested in the Request was established as October 18, 2023 (the “Objection Deadline”).

                      PLEASE TAKE FURHTER NOTICE that, prior to the Objection Deadline, DSM-

         Firmenich received informal comments from the above-captioned debtors and debtors in

         possession (collectively, the “Debtors” and, together with DSM-Firmenich, the “Parties”)

         regarding the Request and, in connection therewith, the Parties have reached an agreement with

         respect to DSM-Firmenich’s adequate protection on the terms memorialized in the stipulation (the

         “Stipulation”) annexed as Exhibit 1 to the proposed form of order attached hereto as Exhibit A

         (the “Proposed Order”).             The Parties shared a copy of the Stipulation with counsel to the



         1
               A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
               proposed claims and noticing agent at https://cases.stretto.com/amyris. The location of the Debtor Amyris Inc.’s
               principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite
               100, Emeryville, CA 94608.
         2
               Capitalized terms used but not otherwise defined herein shall have their meanings given to them in the Request.
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         Committee, which has advised DSM-Firmenich’s undersigned counsel that the Committee

         supports entry of the Proposed Order. Further, DSM-Firmenich shared a copy of the Proposed

         Order and the Stipulation with counsel to the DIP Lenders, DIP Agent and Foris Prepetition

         Secured Lenders, which has also advised DSM-Firmenich that it supports entry of the Proposed

         Order.

                  PLEASE TAKE FURTHER NOTICE that DSM-Firmenich shared a copy of the

         Stipulation and Proposed Order with the Office of the United States Trustee for the District of

         Delaware (the “U.S. Trustee”), which requested that DSM-Firmenich serve the Stipulation and

         Proposed Order on those parties that received the Request and establish an objection deadline

         seven days from such service. Accordingly, at the request of the U.S. Trustee and with the

         Debtors’ consent, DSM-Firmenich files this notice (this “Notice”) on all such parties. Objections,

         if any, to entry of the Proposed Order attached to this Notice are due to be filed and served on

         DSM-Firmenich’s undersigned counsel on or before November 1, 2023 at 4:00 p.m. (ET) (the

         “Supplemental Objection Deadline”).

                  PLEASE TAKE FURTHER NOTICE that if no responses are received by the

         Supplemental Objection Deadline, DSM-Firmenich intends to submit the Proposed Order under

         certification of counsel and request that the Court enter the Proposed Order at its earliest

         convenience without further notice or hearing. In the event that objections are received and cannot

         be resolved on a consensual basis, DSM-Firmenich will seek entry of the Proposed Order at the

         hearing scheduled before the Court on November 6, 2023.



                                             [Signature Page Follows]




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             Dated: October 25, 2023                             Respectfully submitted,
                    Wilmington, Delaware
                                                                 YOUNG CONAWAY STARGATT &
                                                                 TAYLOR, LLP

                                                                  /s/ Andrew L. Magaziner
                                                                 Andrew L. Magaziner (No. 5426)
                                                                 Rodney Square
                                                                 1000 North King Street
                                                                 Wilmington, Delaware 19801
                                                                 Telephone: (302) 571-6600
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                                                                 Email: amagaziner@ycst.com

                                                                 - and -

                                                                 LATHAM & WATKINS LLP
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                                                                 Joseph C. Celentino3 (admitted pro hac vice)
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                                                                 -and-

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                                                                 Email: jon.weichselbaum@lw.com

                                                                 Counsel to DSM-Firmenich




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               Not admitted in Illinois. Admitted in New York.
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              EXHIBIT A

             Proposed Order




30905314.1
                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE



             In re:                                                     Chapter 11

             AMYRIS, INC., et al.,1                                     Case No. 23-11131 (TMH)

                              Debtors.                                  (Jointly Administered)

                                                                        Ref. Docket No. 463

                              ORDER APPROVING STIPULATION
                 GRANTING ADEQUATE PROTECTION RELIEF TO DSM-FIRMENICH AG

                      This Court having considered the Stipulation Granting Adequate Protection Relief to DSM-

         Firmenich AG, a copy of which is attached hereto as Exhibit 1 (the “Stipulation”), and this Court

         having determined that good cause exists for approval of the Stipulation,

                      IT IS HEREBY ORDERED that:

                      1.     The Stipulation is approved in its entirety.

                      2.     Notwithstanding Fed. R. Bankr. P. 4001(a)(3), this Order shall be effective

         immediately upon its entry.




         1
               A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
               proposed claims and noticing agent at https://cases.stretto.com/amyris. The location of the Debtor Amyris Inc.’s
               principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite
               100, Emeryville, CA 94608.
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                3.      This Court retains jurisdiction over any and all matters arising from or related to

         the implementation or interpretation of the Stipulation or this Order.




30905314.1
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             Exhibit 1
             Stipulation




30905314.1
                             UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                                        Chapter 11

AMYRIS, INC., et al.,                                         Case No. 23-11131 (TMH)

                                                              (Jointly Administered)
                          Debtors.1


                           STIPULATION GRANTING ADEQUATE
                        PROTECTION RELIEF TO DSM-FIRMENICH AG

         The debtors and debtors-in-possession in the above-captioned cases (collectively,

the “Debtors”) have agreed with DSM Nutritional Products Ltd. (together with its affiliates,

including DSM BV (as defined herein), “DSM-Firmenich”), to this stipulation (this “Stipulation”)

granting adequate protection to DSM-Firmenich solely to the extent provided for herein.2

                                                   RECITALS

         A.      Petition Date; Debtors-in-Possession. On August 9, 2023 (the “Petition Date”),

each of the Debtors filed voluntary petitions for relief under chapter 11 of title 11 of the United

States Code, 11 U.S.C. § 101 et seq. (as amended, the “Bankruptcy Code”) commencing these

Chapter 11 Cases in the United States Bankruptcy Court for the District of Delaware (this “Court”).


1
    A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://cases.stretto.com/amyris. The location of Debtor Amyris Inc.’s
    principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street, Suite
    100, Emeryville, CA 94608.
2
    Capitalized terms used and not defined herein shall have the meanings ascribed to such terms in the (a) Motion of
    the Debtors for Interim and Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to
    Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties, (III) Modifying the
    Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief [Docket No. 19]; (b) Interim
    Order (I) Authorizing the Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral,
    (II) Granting Adequate Protection to Prepetition Secured Parties, (III) Modifying the Automatic Stay,
    (IV) Scheduling a Final Hearing, and (V) Granting Related Relief [Docket No. 54] (the “Interim DIP Order”); or
    (c) Final Order (I) Authorizing the Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
    Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties, (III) Modifying the Automatic Stay,
    (IV) Scheduling Final Hearing, and (V) Granting Related Relief [Docket No. 558] (the “Final DIP Order”).
The Debtors have continued in the management and operation of their businesses as debtors-in-

possession pursuant to Sections 1107 and 1108 of the Bankruptcy Code. The Debtors’ Chapter 11

Cases are being jointly administered. No trustee or examiner has been appointed in these

Chapter 11 Cases.

        B.      Committee Appointment. On August 27, 2023, the Office of the United States

Trustee (the “U.S. Trustee”) appointed the Official Committee of Unsecured Creditors

(the “Committee”), consisting of the following seven members: (i) Cosan U.S. Inc., (ii) U.S. Bank

Trust Company, National Association as Trustee, (iii) Sartorius Stedim North America, Inc.,

(iv) Hearst Magazine Media, Inc., (v) Wiley Companies, (vi) Park Wynwood, LLC, and (vii) Allog

Participacoes, Ltda. See Docket No. 152

        C.      Jurisdiction and Venue. The Court has core jurisdiction over the Chapter 11 Cases

pursuant to 28 U.S.C. §§ 157(b) and 1334. Venue for the Chapter 11 Cases and proceedings is

proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory and other

predicates for the relief granted herein are Sections 361, 362, and 363 of the Bankruptcy Code,

and Bankruptcy Rule 4001 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”).

        D.      Notice. The Debtors have provided notice of this Stipulation to: (i) the U.S.

Trustee; (ii) counsel to DSM-Firmenich; (iii) counsel to the Committee; and (iv) counsel to the

DIP Lender. Under the circumstances, such notice of the proposed Stipulation and the relief

granted herein complies with Bankruptcy Rule 4001(a), and no other notice need be provided for

entry of this Stipulation.




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   E. The DSM Loan and Security Agreement.

              (i)    DSM Loan and Security Agreement. Pursuant to that certain Loan and

Security Agreement dated as of October 11, 2022, as amended and restated by that certain

Amendment and Restatement Agreement dated as of December 12, 2022 (as amended by that

certain First Forbearance Agreement and First Amendment to Amended and Restated Loan

Agreement dated as of May 9, 2023, as further amended by that certain Amendment No. 2 and

Waiver to Amended and Restated Loan and Security Agreement dated as of June 5, 2023, and as

further amended, restated, supplemented or otherwise modified from time to time, collectively,

the “DSM LSA”), by and among Amyris, Inc. (“Amyris”), certain subsidiaries thereof as

guarantors (the “Subsidiary Guarantors”, and together with Amyris, the “Obligors”), and DSM

Finance B.V. (“DSM BV”), DSM BV agreed to extend certain loans and make other financial

accommodations to Amyris. Under the DSM LSA, Amyris obtained, among other financial

accommodations, term loans in three (3) tranches: (a) Tranche 1, in the principal amount of

$50,000,000; (b) Tranche 2, in the principal amount of $25,000,000; and (c) Tranche 3, in the

principal amount of $25,000,000 (collectively, the “DSM Prepetition Secured Loans”).

              (ii)   Amounts Owed Under the DSM LSA. As of the Petition Date, the Obligors

owe DSM BV: (a) an aggregate outstanding principal amount of approximately $20,450,000 under

Tranche 1, (b) an aggregate outstanding principal amount of approximately $25,000,000 under

Tranche 2, and (c) an aggregate outstanding principal amount of approximately $29,518,925 under

Tranche 3, plus (d) all accrued and unpaid interest thereon and any additional fees, costs,

indemnities, expenses (including any reasonable attorneys’ and other professionals’ fees and

expenses that are chargeable or reimbursable under the Loan Documents (as defined in the DSM




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LSA)) through the Petition Date, and other amounts thereafter due under the Loan Documents and

applicable law.

               (iii)   Security Agreement. Pursuant to that certain Security Agreement dated as

of October 11, 2022 by and among Amyris and DSM BV (as amended, restated, supplemented or

otherwise modified from time to time, the “DSM Security Agreement”), Amyris’s obligations

under Tranche 1 and Tranche 2 of the DSM LSA are secured by a lien and security interest in favor

of DSM BV in all of Amyris’s rights to any earn-out amounts that may become payable from DSM

Nutritional Products Ltd. to Amyris (the “Earn-Out Payments”), in accordance with Section 3.5 of

the Purchase Agreement (as defined in the DSM LSA).

               (iv)    Pledge Agreement. Pursuant to that certain Pledge Agreement dated as of

December 12, 2022, by and among Amyris and DSM BV (as amended, restated, supplemented or

otherwise modified from time to time, the “DSM Pledge Agreement” and, together with the DSM

Security Agreement, the DSM LSA, and any other agreements and documents executed or

delivered in connection with the DSM Prepetition Secured Loans (as defined herein), collectively,

the “DSM Prepetition Secured Loan Agreements”), Amyris’s obligations under Tranche 2 and

Tranche 3 of the DSM LSA are secured by a lien and security interest in favor of DSM BV in

Amyris’s 69.00% equity interests in Amyris RealSweet, LLC (the “Equity Interests” and,

collectively with the Earn-Out Payments, the “Prepetition Collateral”).

        F.     Debtors’ Stipulations. Without prejudice to the rights of parties in interest, other

than the Debtors, as provided herein and in the Final DIP Order, but subject to the limitations

thereon contained in Paragraph 11 of the Final DIP Order, the Debtors stipulate and agree, having

considered and reviewed the facts and circumstances and record, that the following statements are




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true and correct (collectively, Paragraphs F(i) through (iv) below are referred to herein as the

“Debtor Stipulations”):

               (i)     DSM Prepetition Secured Loans. Pursuant to the DSM Prepetition Secured

Loan Agreements, DSM BV provided the DSM Prepetition Secured Loans. As of the Petition

Date, Amyris and the Subsidiary Guarantors were justly and lawfully indebted and liable to DSM

BV pursuant to the DSM Prepetition Secured Loan Agreements, without defense, counterclaim,

or offset of any kind, in the aggregate principal amount of at least $74,968,925.16, plus as of the

Petition Date accrued and unpaid interest, any additional reasonable fees, costs, expenses

(including any reasonable attorneys’, financial advisors’, and other professionals’ fees and

expenses), reimbursement obligations, indemnification obligations, contingent obligations, and

other charges of whatever nature, whether or not contingent, whenever arising, due, or owing, and

all other Secured Obligations (as defined in the DSM LSA) owing, in each case under or in

connection with the DSM Prepetition Secured Loan Agreements without defense, counterclaim,

or offset of any kind (but subject to liquidation of unliquidated obligations) to the extent provided

under applicable law (collectively, the “DSM Prepetition Obligations”). From and after the

Petition Date, Amyris and the Subsidiary Guarantors are justly and lawfully indebted and liable to

DSM BV pursuant to the DSM Prepetition Secured Loan Agreements for accrued default interest,

plus any additional reasonable fees, costs, expenses (including any reasonable attorneys’, financial

advisors’, and other professionals’ fees and expenses), reimbursement obligations, indemnification

obligations, contingent obligations, and other charges of whatever nature, whether or not

contingent, whenever arising, due, or owing, and all other Secured Obligations owing, in each

case, under or in connection with the DSM Prepetition Secured Loan Agreements after the Petition




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Date and without defense, counterclaim, or offset of any kind (but subject to liquidation of

unliquidated obligations) to the extent provided under applicable law.

               (ii)    DSM Prepetition Loan Collateral. In connection with the DSM Prepetition

Secured Loan Agreements, Amyris entered into (a) the DSM Security Agreement and (b) the DSM

Pledge Agreement. Pursuant to the DSM Security Agreement Tranche 1 and Tranche 2 of the

DSM Prepetition Obligations are secured by a valid, binding, perfected first priority security

interest in and liens on the Earn-Out Payments, and pursuant to the DSM Pledge Agreement

Tranche 2 and Tranche 3 of the DSM Prepetition Obligations are secured by a valid, binding,

perfected first priority security interest in and liens on the Equity Interests (collectively, the

“DSM Liens”).

               (iii)   Validity, Perfection, and Priority of DSM Liens and DSM Prepetition

Obligations. Each of the Debtors acknowledges and agrees that: (a) as of the Petition Date, the

DSM Liens are valid, binding, enforceable, non-avoidable, and properly perfected liens on and

security interests in the applicable Prepetition Collateral and were granted to, or for the benefit of,

DSM BV for fair consideration and reasonably equivalent value; (b) as of the Petition Date, the

DSM Liens are subject and/or subordinate only to valid, perfected, and unavoidable liens and

security interests existing as of the Petition Date that are senior in priority to the DSM Liens as

permitted by the terms of the DSM Prepetition Secured Loan Agreements; (c) the DSM Prepetition

Obligations constitute legal, valid, binding, and non-avoidable obligations of Amyris and the

Subsidiary Guarantors enforceable in accordance with the terms of the applicable DSM Prepetition

Secured Loan Agreements; (d) no offsets, challenges, objections, defenses, claims, or

counterclaims of any kind or nature to any of the DSM Liens or DSM Prepetition Obligations

exist, and no portion of the DSM Liens or DSM Prepetition Obligations is subject to any challenge




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or defense including impairment, set-off, right of recoupment, avoidance, attachment,

disallowance, disgorgement, reduction, recharacterization, recovery, subordination (whether

equitable or otherwise), attack, offset, defense, counterclaims, cross-claims, or “claim” (as defined

in the Bankruptcy Code), pursuant to the Bankruptcy Code or applicable non-bankruptcy law;

(e) the Debtors and their estates have no claims, objections, challenges, causes of actions,

recoupments, counterclaims, cross-claims, setoff rights, and/or choses in action, including “lender

liability” causes of action, derivative claims, or avoidance claims under chapter 5 of the

Bankruptcy Code, whether arising under applicable state law or federal law (including any

recharacterization, subordination, avoidance, disgorgement, recovery, or other claims arising

under or pursuant to Sections 105, 510, or 541 through 553 of the Bankruptcy Code), against DSM

BV, or any of its affiliates, agents, representatives, attorneys, advisors, professionals, officers,

directors, and employees arising out of, based upon, or related to its loans under the DSM

Prepetition Secured Loan Agreements, the DSM Prepetition Obligations, or the DSM Liens; and

(f) the Debtors waive, discharge, and release any right to challenge any of DSM Prepetition

Secured Loans, the amount, allowance, character and priority of the Debtors’ obligations under

the DSM Prepetition Secured Loans, and the validity, binding, legal, enforceability, allowance,

amount, characterization, extent and priority as to the DSM Liens securing the DSM Prepetition

Secured Loans.

               (iv)    No Claims of Causes of Action. No claims or causes of action held by the

Debtors or their estates exist against, or with respect to, the DSM Prepetition Secured Loans or the

DSM Prepetition Secured Loan Agreements.




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        G.     Adequate Protection for DSM-Firmenich. Pursuant to this Stipulation, the Debtors

have agreed to provide adequate protection as set forth herein, subject to the conditions,

qualifications, limitations, and reservations stated in this Stipulation.

       H.      Relief Essential; Good Cause; Best Interest. This Stipulation is in the best interests

of the Debtors, their estates, and creditors.

       Considering the record of the case and applicable law,

       Upon the entry of an order approving this Stipulation, and subject to the terms of and solely

to the extent set forth herein, DSM-Firmenich is granted (effective and perfected upon the date of

this Stipulation and without the necessity of the execution of any mortgages, security agreements,

pledge agreements, financing statements or other agreements), without prejudice to the rights of

DSM-Firmenich to request modified or additional adequate protection upon a properly noticed

motion to the Court, and without prejudice to the rights of the Debtors or any other parties in

interest to object to any additional adequate protection which may be requested by DSM-

Firmenich, as adequate protection for the asserted interests of DSM-Firmenich in the applicable

Prepetition Collateral, the following:

       (a)     Payment of Earn-Out Payments. The Earn-Out Payments shall be paid directly to

DSM-Firmenich. DSM-Firmenich shall apply the Earn-Out Payments to repayment of Tranche 1

and Tranche 2 of the DSM Prepetition Secured Loans in accordance with Section 2.5(b)(i) of the

DSM LSA, without further order of the Court and shall provide notice to the Debtors

contemporaneously with such repayment.

       (b)     Payment of Professional Fees. The reasonable and documented fees, costs, and

expenses of (a) Latham & Watkins LLP (“L&W”), as counsel for DSM-Firmenich, and (b) Young

Conaway Stargatt & Taylor, LLP (“YCST” and, together with L&W, “Counsel”), as local counsel




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for DSM-Firmenich, (collectively, the “DSM Fees”) shall be part of DSM-Firmenich’s allowed

secured claim, and shall be paid either pursuant to any chapter 11 plan or as agreed between the

Debtors and Amyris. L&W and YCST shall send summary invoices to the Debtors, the U.S.

Trustee and the Committee for review no later than ten (10) days prior to the payment of the DSM

Fees. The Debtors are authorized to pay the DSM Fees and none of the DSM Fees payable to

Counsel pursuant to this paragraph shall be subject to seeking prior approval of the Court, and no

recipient of any such payment shall be required to file with respect thereto any interim or final fee

application with the Court.

       (c)     Adequate Protection 507(b) Claims.         In recognition of its rights to adequate

protection pursuant to Sections 361, 362, and 363(e) of the Bankruptcy Code, DSM-Firmenich is

granted, solely to the extent of the Diminution in Value of its interests in the Equity Interests, from

and after the Petition Date, an allowed superpriority administrative expense claim as provided for

in Section 507(b) of the Bankruptcy Code (“DSM-Firmenich’s 507(b) Claim”), with priority in

payment over any and all administrative expenses of the kind specified or ordered pursuant to

Section 507(a)(2) of the Bankruptcy Code; provided, however, DSM-Firmenich’s 507(b) Claim

shall be (i) subordinate to the DIP Superpriorty Claims of the DIP Agent and the DIP Lenders;

(ii) pari passu with the Adequate Protection Superpriority Claims granted to the Foris Prepetition

Secured Parties under the Interim DIP Order (as such respective claims may be revised or included

in the Final DIP Order); and (iii) shall be subordinate to, and subject to payment for the benefit of

others of, the Carve-Out. For the avoidance of doubt, DSM-Firmenich’s 507(b) Claim is not

included in the Carve-Out.

       (d)     Reservation of Rights. This Stipulation is without prejudice to, and does not

constitute a waiver of, expressly or implicitly, or otherwise impair: (a) any of the rights of DSM-




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Firmenich to seek any other or supplemental relief in respect of the Debtors including the right to

seek additional Adequate Protection at and following the Final Hearing; (b) any of the rights of

DSM-Firmenich under the Bankruptcy Code or under non-bankruptcy law, including, without

limitation, the right of DSM-Firmenich to (i) request modification of the automatic stay of Section

362 of the Bankruptcy Code, (ii) request dismissal of any of the Chapter 11 Cases, conversion of

any of the Chapter 11 Cases to cases under chapter 7, or appointment of a chapter 11 trustee or

examiner with expanded powers in any of the Chapter 11 Cases, (iii) seek to propose, subject to

the provisions of Section 1121 of the Bankruptcy Code, a chapter 11 plan or plans; or (c) any other

rights, claims, or privileges (whether legal, equitable, or otherwise) of DSM-Firmenich. The delay

in or failure of DSM-Firmenich to seek relief or otherwise exercise its rights and remedies shall

not constitute a waiver of DSM-Firmenich’s rights and remedies.

       (e)     Reservation of Certain Committee and Third Party Rights and Bar of Challenges

and Claims. The Debtor Stipulations, admissions, agreements, waivers, and releases contained in

this Stipulation shall be binding upon the Debtors, their estates, and any of their respective

successors (including, without limitation, any chapter 7 or chapter 11 trustee or examiner

appointed or elected for any of the Debtors) in all circumstances and for all purposes. Subject to

Paragraph 11 of the Final DIP Order, the Debtor Stipulations, admissions, agreements, waivers,

and releases contained in this Stipulation shall be binding upon all other parties in interest,

including any Committee and any other person acting on behalf of the Debtors’ estates unless and

to the extent such Committee or party in interest with requisite standing (in each case, to the extent

requisite standing is obtained pursuant to an order of the Court entered prior to the expiration of

the Challenge Period (as defined herein) and subject in all respects to any agreement or applicable

law that may limit or affect such entity’s right or ability to do so) has timely and properly filed an




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adversary proceeding or contested matter on or before November 15, 2023, each subject to further

extension by written agreement of the Debtors, the DIP Agent, and DSM-Firmenich

(the “Challenge Period”), seeking to avoid, object to, or otherwise challenge the findings or

Debtors’ stipulations regarding: (a) the validity, binding, legal, enforceability, allowance, amount,

characterization, extent and priority as to DSM-Firmenich under the DSM Prepetition Secured

Loan Agreements; (b) the validity, enforceability, allowability, priority, characterization, secured

status, or amount of the DSM Prepetition Obligations; or (c) otherwise asserting or prosecuting

any action for preferences, fraudulent transfers or conveyances subordination, recharacterization

avoidance power claims under the Bankruptcy Code or applicable state or federal law, other power

claims or other claims, counterclaims or cause of action, objections contests or defenses

(collectively, the “Challenges”) against DSM-Firmenich or their respective subsidiaries, affiliates,

officers, directors, managers, principals, employees, or agents, and the respective successors and

assigns thereof, in each case in their respective capacity as such in connection with any matter

directly or indirectly related to, arising from, or connected with the DSM Prepetition Secured Loan

Agreements and DSM Prepetition Obligations, the DSM Liens, and the Prepetition Collateral, and

the negotiation, implementation and facts and circumstances related to any of the foregoing, and

in which there is a final non-appealable order entered in favor of the plaintiff sustaining any such

Challenge in any such timely filed adversary proceeding or contested matter; provided, however,

that any pleadings filed in connection with any Challenge shall set forth with specificity the basis

for such challenge or claim, and any challenges or claims not so specified prior to the expiration

of the Challenge Period shall be deemed forever waived, released, and barred, including any

amended or additional claims that may or could have been asserted thereafter through an amended

complaint under Fed. R. Civ. P. 15. Notwithstanding the foregoing, to the extent a motion seeking




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standing to commence a Challenge is timely filed and attaches a draft complaint setting forth the

legal and factual bases of the proposed Challenge prior to the expiration of the Challenge Period

and the Challenge Period expires before such motion is ruled upon by this Court, the Challenge

Period will be tolled solely with respect to the Challenges asserted in the draft complaint until the

earlier of (x) the thirtieth (30th) day following the filing of such motion (which may be extended

by Court order or written agreement of the DIP Agent, the Debtors and movant, in each case, to

accommodate the Court’s calendar) or (y) three (3) business days from the entry of an order ruling

on such motion. This Stipulation does not and shall not be construed to effect or impair any parties’

rights under Paragraph 11 of the Final DIP Order with respect to Challenges; provided that, any

Challenge complies with all the requirements and terms of Paragraph 11 of the Final DIP Order.

        (f)    Miscellaneous.

         i.    This Stipulation shall be sufficient and conclusive evidence of the validity,

enforceability and priority of DSM-Firmenich’s 507(b) Claim.

        ii.    Any order approving this Stipulation shall constitute findings of fact and

conclusions of law pursuant to Bankruptcy Rule 7052 and this Stipulation shall be immediately

effective and enforceable upon entry of an order approving this Stipulation.

       iii.    Paragraph headings used herein are for convenience only and are not to affect the

construction of, or to be taken into consideration in, interpreting this Stipulation.

       iv.     Except as explicitly provided herein, this Stipulation does not create any rights for

the benefit of any third party, creditor, equity holder or any direct, indirect, or incidental

beneficiary.

        v.     The Court retains jurisdiction to enforce the terms of this Stipulation.




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